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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

                          MAGISTRATE’S COURTROOM MINUTES

UNITED STATES of AMERICA                                      :       MAGISTRATE JUDGE:     André M. Espinosa
                                                              :
                v.                                            :
                                                              :       CRIMINAL NO.:   21cr191 (KM)
DAVID KUSHNER                                                 :
                                                                      DATE OF PROCEEDINGS 4/21/2022
                                                              :
                                                                      DATE OF ARREST:
PROCEEDINGS:          Hrg. on motion to withdraw

( ) COMPLAINT                                                          ( ) TEMPORARY COMMITMENT
( ) ADVISED OF RIGHTS                                                 ( ) CONSENT TO DETENTION WITH RIGHT TO MAKE A
( ) WAIVER OF COUNSEL                                                     BAIL APPLICATION AT A LATER TIME
( ) APPT. OF COUNSEL:          AFPD            CJA                    ( ) BAIL DENIED - DEFENDANT REMANDED
( ) WAIVER OF HRG.:             PRELIM         REMOVAL                ( ) BAIL SET: _______________________________________
( ) CONSENT TO MAGISTRATE'S JURISDICTION                                  _________________________________________________
( ) PLEA ENTERED:             GUILTY         NOT GUILTY               ( ) TRAVEL RESTRICTED____________________________
( ) PLEA AGREEMENT                                                    ( ) REPORT TO PRETRIAL SERVICES
( ) FINANCIAL AFFIDAVIT EXECUTED                                      ( ) DRUG TESTING AND/OR TREATMENT
(x ) OTHER: Deft’s consent to appear via videoconferencing            ( ) MENTAL HEALTH EVALUATION AND/OR TREATMEN
placed on record.                                                     ( ) SURRENDER &/OR OBTAIN NO PASSPORT
                                                                      ( ) SEE ORDER SETTING CONDITIONS OF RELEASE FOR
Motion to withdraw Granted. Deft. to advise court within 30           ADDITIONAL CONDITIONS
days of new counsel.

Govt. to file motion to toll STA, pending new counsel.

HEARING(S) SET FOR:

(   ) PRELIMINARY / REMOVAL HRG.                                  DATE: ___________________________________
(   ) DETENTION / BAIL HRG.                                       DATE: ___________________________________
(   ) TRIAL: ( ) COURT    ( ) JURY                                DATE: ___________________________________
(   ) SENTENCING                                                  DATE: ___________________________________
(   ) OTHER:                                                      DATE: ___________________________________

APPEARANCES:

AUSA Edeli Riveri, Esq.

DEFT. COUNSEL        Franl Agostino & Jeffrey Dirmann


CD No:                                                                   Scott P. Creegan____
                                                                                DEPUTY CLERK
